                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

PINEDA TRANSPORTATION, LLC, ET AL.,                )
                                                   )
       Plaintiffs,                                 )
                                                   )
v.                                                 )      Civil No. 3:18-cv-00089
                                                   )      Judge Trauger
FLEETONE FACTORING, LLC, ET AL.,                   )
                                                   )
       Defendants.                                 )

                                          ORDER

       Given the pendency of two motions (Docket Nos. 71, 73), one of which is dispositive, it

is hereby ORDERED that the trial scheduled for September 24, 2019 and the pretrial conference

scheduled for September 20, 2019 are CONTINUED, to be reset, if appropriate, following

disposition of these motions.

       It is so ORDERED.

       ENTER this 29th day of August 2019.



                                                   ________________________________
                                                   ALETA A. TRAUGER
                                                   U.S. District Judge




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